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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                       8:17CR302

       vs.
                                                                         ORDER
TYRELL DAVIS

                      Defendant.



        This matter is before the court on the defendant’s Unopposed Motion to Continue Trial
[25]. Counsel is awaiting scientific results of evidence and is seeking additional time to
investigate and prepare the defense. For good cause shown,

       IT IS ORDERED that the defendant’s Unopposed Motion to Continue Trial [25] is
granted as follows:

       1. The jury trial, now set for December 12, 2017, is continued to March 13, 2018.

         2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between today’s date and March 13, 2018, shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act. Failure to grant a
continuance would deny counsel the reasonable time necessary for effective preparation, taking
into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).


       Dated this 6th day of December, 2017.


                                              BY THE COURT:

                                              s/Susan M. Bazis
                                              United States Magistrate Judge
